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                 Exhibit A
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                                             AMENDED AND RESTATED

                           COMMITMENT TO PURCHASE FINANCIAL INSTRUMENT
                                               and
                                SERVICER PARTICIPATION AGREEMENT


This Amended and Restated Commitment to Purchase Financial Instrument and Servicer Participation Agreement (the
"Commitment") is entered into as of the Effective Date, by and between Federal National Mortgage Association, a federally
chartered corporation, as financial agent of the United States ("Fannie Mae"), and the undersigned party ("Servicer").
Capitalized terms used, but not defined contextually, shall have the meanings ascribed to them in Section 12 below.

                                                          Recitals

WHEREAS, the U.S. Department ofthe Treasury (the "Treasury") has established a Home Affordable Modification Program
(the "HAMP") pursuant to section 101 and 109 ofthe Emergency Economic Stabilization Act of2008 (the "Act"), as section
109 of the Act has been amended by section 7002 of the American Recovery and Reinvestment Act of2009;

WHEREAS, Fannie Mae, as financial agent of the United States, and Servicer entered into a Commitment to Purchase
Financial Instrument and Servicer Participation Agreement for the Home Affordable Modification Program under the
Emergency Economic Stabilization Act (the "Prior Agreement") in connection with the implementation ofHAMP, the primary
purpose of which was the modification of first lien mortgage loan obligations and the provision of loan modification and
foreclosure prevention services relating thereto (the "HAMP Services");

WHEREAS, the Treasury has established a variety ofnew programs (together with the HAMP, the "Programs") under the Act
to further stabilize the housing market by facilitating second lien mortgage loan modifications and extinguishments, providing
home price decline protection incentives, encouraging foreclosure alternatives, such as short sales and deeds in lieu of
foreclosure, and making other foreclosure prevention services available to the marketplace (collectively, together with the
HAMP Services, the "Services");

WHEREAS, the Programs may include Services relating to FHA, VA and USDA loans;

WHEREAS, Fannie Mae has been designated by the Treasury as a financial agent ofthe United States in connection with the
implementation ofthe Programs; all references to Fannie Mae in the Agreement shall be in its capacity as financial agent ofthe
United States;

WHEREAS, Fannie Mae will fulfill the roles of administrator and record keeper for the Programs, and in conjunction
therewith must standardize certain mortgage modification and foreclosure prevention practices and procedures as they relate to
the Programs, consistent with the Act and in accordance with the directives of, and guidance provided by, the Treasury;

WHEREAS, Federal Home Loan Mortgage Corporation ("Freddie Mac") has been designated by the Treasury as a financial
agent ofthe United States and will fulfill a compliance role in connection with the Programs; all references to Freddie Mac in
the Agreement shall be in its capacity as compliance agent of the Programs;

WHEREAS, Fannie Mae and Servicer desire to amend and restate the Prior Agreement in its entirety as set forth herein;

WHEREAS, all Fannie Mae and Freddie Mac approved servicers are being directed through their respective servicing guides
and bulletins to implement the Programs with respect to mortgage loans owned, securitized, or guaranteed by Fannie Mae or
Freddie Mac (the "OSE Loans"); accordingly, this Agreement does not apply to the OSE Loans;
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WHEREAS, all other servicers, as well as Fannie Mae and Freddie Mac approved servicers, that wish to participate in the
Programs with respect to loans that are not GSE Loans (collectively, "Participating Servicers") must agree to certain terms and
conditions relating to the respective roles and responsibilities ofparticipants and other financial agents ofthe government; and

WHEREAS, Servicer wishes to participate in the Programs as a Participating Servicer on the terms and subject to the
conditions set forth herein.

Accordingly, in consideration ofthe representations, warranties, and mutual agreements set forth herein and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Fannie Mae and Servicer agree to
amend and restate the Prior Agreement in its entirety, as follows.

                                                          Agreement

1. Services

A.      Contemporaneously with the execution and delivery ofthis Commitment and the Financial Instrument, Servicer will
execute and deliver to Fannie Mae one or more schedules describing the Services to be performed by Servicer pursuant to this
Agreement, effective as ofthe Effective Date ofthe Agreement (each, a "Service Schedule" or an "Initial Service Schedule"
and, collectively, the "Initial Service Schedules"). After the Effective Date of the Agreement, Servicer may opt-in to any
additional initiatives offered by Treasury in connection with the Programs by executing and delivering to Fannie Mae one or
more additional Service Schedules describing the Services relating to such initiatives (each, a "Service Schedule" or an
"Additional Service Schedule" and, collectively, the "Additional Service Schedules") (the Initial Service Schedules and the
Additional Service Schedules, collectively, the "Service Schedules"). All Service Schedules that are executed and delivered to
Fannie Mae by Servicer from time to time will be numbered sequentially (e.g. Service Schedule A-I; Service Schedule A-2;
Service Schedule A-3; et seq.) and are referenced herein, collectively, as Exhibit A; Exhibit A is hereby incorporated into the
Commitment by this reference.

B.       Subject to Section 10.C., Servicer shall perform the Services described in (i) the Financial Instrument attached hereto
as Exhibit B (the "Financial Instrument"); (Ii) the Service Schedules attached hereto, collectively, as Exhibit A; (iii) the
guidelines and procedures issued by the Treasury with respect to the Programs outlined in the Service Schedules (the "Program
Guidelines"); and (iv) any supplemental documentation, instructions, bulletins, frequently asked questions, letters, directives,
or other communications, including, but not limited to, business continuity requirements, compliance requirements,
performance requirements and related remedies, issued by the Treasury, Fannie Mae, or Freddie Mac in order to change, or
further describe or clarify the scope of, the rights and duties of the Participating Servicers in connection with the Programs
outlined in the Service Schedules (the "Supplemental Directives" and, together with the Program Guidelines, the "Program
Documentation"). The Program Documentation will be available to all Participating Servicers at www.HMPadmin.com; for
the avoidance of doubt, the term "Program Documentation" includes all of the Program Guidelines and Supplemental
Directives issued by Treasury and made available to Participating Servicers at www.HMPadmin.com prior to the Effective
Date of the Agreement. The Program Documentation, as the same may be modified or amended from time to time in
accordance with Section 10 below, is hereby incorporated into the Commitment by this reference.

C.       Servicer's representations and warranties, and acknowledgement of and agreement to fulfill or satisfy certain duties
and obligations, with respect to its participation in the Programs and under the Agreement are set forth in the Financial
Instrument. Servicer's certification as to its continuing compliance with, and the truth and accuracy of, the representations and
warranties set forth in the Financial Instrument will be provided annually in the form attached hereto as Exhibit C (the
"Certification"), beginning on June I, 2010 and again on June I ofeach year thereafter during the Term (as defined below) and
upon the execution and delivery by Servicer of any Additional Service Schedule during the Term.

D.      The recitals set forth above are hereby incorporated herein by this reference.




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2. Authority and Agreement to Participate in Programs

A.     Servicer shall perfonn the Services for all mortgage loans it services, whether it services such mortgage loans for its
own account or for the account ofanother party, including any holders ofmortgage-backed securities (each such other party,
an HInvestor").

B.      Fannie Mae acknowledges that Servicer may service mortgage loans for its own account or for the account ofone or
more Investors and may be subject to restrictions set forth in pooling and servicing agreements or other servicing contracts
governing Servicer's servicing of a mortgage loan; Servicer shall use reasonable efforts to remove all prohibitions or
impediments to its authority, and use reasonable efforts to obtain all third party consents, waivers and delegations that are
required, by contract or law, in order to perfonn the Services.

C.      Notwithstanding subsection B., if(x) Servicer is unable to obtain all necessary consents, waivers and delegations for
perfonning any Services under the Programs, or (y) the pooling and servicing agreement or other servicing contract governing
Servicer's servicing ofa mortgage loan prohibits Servicer from perfonning such Services for that mortgage loan, Servicer shall
not be required to perfonn such Services with respect to that mortgage loan and shall not receive all or any portion of the
Purchase Price (defined below) otherwise payable for such Services with respect to such loan.

D.      Notwithstanding anything to the contrary contained herein, the Agreement does not apply to GSE Loans. Servicers are
directed to the servicing guides and bulletins issued by Farmie Mae and Freddie Mac, respectively, concerning the Programs as
applied to GSE Loans.

E.       Servicer's perfonnance ofthe Services and implementation ofthe Programs shall be subjectto review by Freddie Mac
and its agents and designees as more fully set forth in the Agreement.

3. Set Up; Prerequisite to Payment

Servicer will provide to Fannie Mae: (a) the set up infonnation required by the Program Documentation and any ancillary or
administrative infonnation requested by Fannie Mae in order to process Servicer's participation in the Programs as a
Participating Servicer on or before the Effective Date ofthe Agreement as to the Initial Service Schedules that are executed
and delivered contemporaneously herewith, and on or before the effective date ofthe Additional Service Schedules (if any)
executed and delivered after the Effective Date of the Agreement; and (b) the data elements for each mortgage obligation,
property, or borrower eligible for the Programs as and when described in the Program Documentation and the Financial
Instrument. Purchase Price payments will not be remitted pursuant to Section 4 with respect to Services for which the required
data elements have not been provided.

4. Agreement to Purchase Financial Instrument; Payment of Pnrchase Price

A.      Farmie Mae, in its capacity as a financial agent ofthe United States, agrees to purchase, and Servicer agrees to sell to
Fannie Mae, in such capacity, the Financial Instrument that is executed and delivered by Servicer to Fannie Mae in the fonn
attached hereto as Exhibit B, in consideration for the payment by Farmie Mae, as agent, ofthe Purchase Price.

B.       The conditions precedent to the payment by Fannie Mae ofthe Purchase Price with respect to the Services described
on the Initial Service Schedules are: (a) the execution and delivery ofthe Commitment, the Initial Service Schedules, and the
Financial Instrument by Servicer to Fannie Mae; (b) the execution and delivery of the Commitment and the Initial Service
Schedules by Farmie Mae to Servicer; (c) the delivery of copies ofthe fully executed Commitment, Initial Service Schedules
and Financial Instrument to Treasury on the Effective Date ofthe Agreement; (d) the perfonnance by Servicer ofthe Services
described in the Agreement, in accordance with the tenns and conditions thereof, to the reasonable satisfaction ofFarmie Mae
and Freddie Mac; and (e) the satisfaction by Servicer of such other obligations as are set forth in the Agreement.




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C.       The conditions precedent to the payment by Fannie Mae ofthe Purchase Price with respect to the Services described
on the Additional Service Schedules (if any) are: (a) the execution and delivery ofthe Additional Service Schedules and the
Certification by Servicer to Fannie Mae; (b) the execution and delivery ofthe Additional Service Schedules by Fannie Mae to
Servicer; (c) the delivery of copies of the fully executed Additional Service Schedules to Treasury; (d) the performance by
Servicer of the Services described in the Agreement, in accordance with the terms and conditions thereof, to the reasonable
satisfaction ofFannie Mae and Freddie Mac; and (e) the satisfaction by Servicer ofsuch other obligations as are set forth in the
Agreement.

D.       Solely in its capacity as the financial agent ofthe United States, and subject to subsection E. below, Fannie Mae shall
remit all payments described in the Program Documentation to Servicer for the account or credit of Servicer, Investors and
borrowers, in each case in accordance with the Program Documentation (all such payments, collectively, the "Purchase
Price"); all payments remitted to Servicer for the credit or account ofthird parties under the Program Documentation shall be
applied by Servicer as required by the Program Documentation. Fannie Mae shall have no liability to Servicer with respect to
the payment ofthe Purchase Price, unless and until: (a) Servicer and all other interested parties have satisfied all pre-requisites
set forth herein and in the Program Documentation relating to the applicable Program payment structure, including, but not
limited to, the delivery ofall data elements required by Section 3 ofthis Commitment; and (b) the Treasury has provided funds
to Fannie Mae for remittance to Servicer, together with written direction to remit the funds to Servicer in accordance with the
Program Documentation.

E. The Purchase Price will be paid to Servicer by Fannie Mae as the financial agent of the United States as and when
described herein and in the Program Documentation in consideration for the execution and delivery ofthe Financial Instrument
by Servicer on or before the Effective Date of the Agreement, upon the satisfaction of the conditions precedent to payment
described in this Section 4.

F. The value ofthe Agreement is limited to $130,910,000.00 (the "Program Participation Cap"). Accordingly, the aggregate
Purchase Price payable to Servicer under the Agreement with respect to all Services described on all ofthe Service Schedules
that are executed and delivered in connection with the Agreement may not exceed the amount of the Program Participation
Cap. For each Service to be performed by Servicer, the aggregate remaining Purchase Price available to be paid to Servicer
under the Agreement will be reduced by the maximum Purchase Price potentially payable with respect to that Service. In the
event the Purchase Price actually paid with respect to that Service is less than the maximum Purchase Price potentially
payable, the aggregate remaining Purchase Price available to be paid to Servicer under the Agreement will be increased by the
difference between such amounts. Notwithstanding the foregoing, no agreements with any party that may result in a new
payment obligation under the Programs will be effected under the Agreement, and no payments will be made with respect to
any new Services, from and after the date on which the aggregate Purchase Price paid or payable to Servicer under the
Agreement equals the Program Participation Cap. Treasury may, from time to time in its sole discretion, adjust the amount of
the Program Participation Cap. Servicer will be notified of all adjustments to the Program Participation Cap in writing by
Fannie Mae.

G. Servicer shall maintain complete and accurate records of, and supporting documentation for, all Services provided in
connection with the Programs including, but not limited to, data relating to borrower payments (e.g., principal, interest, taxes,
homeowner's insurance, hazard insurance, flood insurance and homeowner's association andlorcondo fees), delinquencies and
the terms ofeach agreement executed under the Programs (e.g., trial modification agreements, loan modification agreements
and extinguishment agreements), which will be relied upon by Fannie Mae when calculating, as financial agent for the United
States, the Purchase Price to be paid by the Treasury through Fannie Mae or any other financial agent. Servicer agrees to
provide Fannie Mae and Freddie Mac with documentation (including copies of executed borrower agreements) and other
information with respect to any amounts paid by the Treasury as may be reasonably requested by such parties. In the event of
a discrepancy or error in the amount ofthe Purchase Price paid hereunder, at Fannie Mae's election, (x) Servicer shall remit to
Fannie Mae the amount of any overpayment within thirty (30) days of receiving a refund request from Fannie Mae, or (y)
Fannie Mae may immediately offset the amount of the overpayment against other amounts due and payable to Servicer by
Fannie Mae, as financial agent ofthe United States, upon written notice to Servicer. Servicer shall still be obligated to credit



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to the respective accounts of Investors and borrowers any portion of the Purchase Price to which they are entitled (if any)
notwithstanding such offset unless otherwise directed by Fannie Mae.

H. At the election and upon the direction of the Treasury and with prior written notice to Servicer, Fannie Mae may deduct
from any amount to be paid to Servicer any amount that Servicer, Investor, or borrower is obligated to reimburse or pay to the
United States govermnent, provided, however, that any amount withheld under this subsection H. will be withheld only from
the amounts payable to, or for the account or credit of, the party which is liable for the obligation to the United States
govermnent.

5. Term

A. New Services may be undertaken by Servicer as described in the Financial Instrument and the Program Documentation
from and after the Effective Date until December 31, 2012 (the "Initial Term"), subject to one or more extensions ofthe Initial
Term by the Treasury, or earlier termination of the Agreement by Fannie Mae pursuant to the provisions hereof, or earlier
suspension or termination of one or more of the Programs by the Treasury, provided, however, no new Services may be
undertaken by Servicer, and Servicer will have no further obligation to perform any Services under this Agreement, from and
after the date on which the Program Participation Cap is reached.

B. Servicer shall perform the Services described in the Program Documentation in accordance with the terms and conditions
ofthe Agreement during the Initial Term and any extensions thereof(the Initial Term, together with all extensions thereof, if
any, the "Term"), and during such additional period as may be necessary to: (i) comply with all data collection, retention and
reporting requirements specified in the Program Documentation during and for the periods set forth therein; and (Ii) complete
all Services that were initiated by Servicer, including, but not limited to, the completion of all documentation relating thereto,
during the Term. Servicer agrees that it will work diligently to complete all Services as soon as reasonably possible after the
end of the Term or earlier termination.

C. Notwithstanding Sections 5.A. and 5.B., ifthe Servicer has elected to participate in the Second Lien Modification Program
by executing and delivering to Fannie Mae a Service Schedule relating thereto, the Servicer in its discretion, may elect to opt
out of the Second Lien Modification Program on an annual basis by providing notice to Fannie Mae in accordance with
Section 9 hereof within 30 days following the anniversary of the Effective Date ofthe Service Schedule for the Second Lien
Modification Program. Following the Servicer's election to opt out ofthe Second Lien Modification Program, the Servicer
will not be required to perform any Services for any new mortgage loans under the Second Lien Modification Program;
however, the Servicer must continue to perform any Services for any mortgage loan for which it had already begun performing
Services prior to electing to opt out of the Second Lien Modification Program.

D. The Agreement, or any ofthe Programs implemented under the Agreement, may be terminated by Fannie Mae or Servicer
prior to the end of the Term pursuant to Section 6 below.

6. Defaults, Acts of Bad Faith aud Early Termiuation; Remedies for and Effects of Defaults, Acts of Bad Faith and
Early Termination; Opportunity to Cure

A. The following constitute events ofdefault by Servicer under the Agreement (each, an "Event ofDefault" and, collectively,
"Events of Default"):

                     (I) Servicer fails to perform or comply with any ofits material obligations under the Agreement,
                      including, but not limited to, circumstances in which Servicer fails to ensure that all eligibility
                      criteria and other conditions precedent specified in applicable Program Documentation are
                      satisfied prior to effectuating any Services in connection with any of the Programs.




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                    (2) Servicer: (a) ceases to do business as a going concern; (b) makes a general assigmnentfor the
                     benefit of, or enters into any arrangement with creditors in lieu thereof; (c) admits in writing its
                     inability to pay its debts as they become due; (d) files a voluntary petition under any bankruptcy
                     or insolvency law or files a voluntary petition under the reorganization or arrangement provisions
                     ofthe laws ofthe United States or any otherjurisdiction; (e) authorizes, applies for or consents to
                     the appointment of a trustee or liquidator of all or substantially all of its assets; (f) has any
                     substantial part of its property subj ected to a levy, seizure, assigmnent or sale for or by any
                     creditor or governmental agency; or (g) enters into an agreement or resolution to take any ofthe
                     foregoing actions.

                   (3) Servicer, any employee or contractor ofServicer, or any employee or contractor ofServicers'
                   contractors, commits a grossly negligent, willful or intentional, or reckless act (including, but not
                   limited to, misrepresentation or fraud) in connection with any ofthe Programs or the Agreement.

                   (4) Any representation, warranty, or covenant made by Servicer in the Agreement or any
                   Certification is or becomes materially false, misleading, incorrect, or incomplete.

                   (5) An evaluation of performance that includes any specific findings by Freddie Mac, in its sole
                   discretion, that Servicer's performance under any performance criteria established pursuant to
                   applicable Program Documentation is materially insufficient, or any failure by Servicer to comply
                   with any directive issued by Fannie Mae or Freddie Mac with respect to documents or data
                   requested, findings made, or remedies established, by Fannie Mae and/or Freddie Mac in
                   conjunction with such performance criteria or other Program requirements.

B. Fannie Mae may take any, all, or none ofthe following actions upon an Event ofDefault by Servicer under the Agreement:

                   (I) Fannie Mae may: (i) withhold some or all ofthe Servicer's portion ofthe Purchase Price until,
                   in Fannie Mae's determination, Servicer has cured the default; and (ii) choose to utilize alternative
                   means of paying any portion of the Purchase Price for the credit or account of borrowers and
                   Investors and delay paying such portion pending adoption of such alternative means.

                   (2) Fannie Mae may: (i) reduce the amounts payable to Servicer under Section 4; and/or (ii) obtain
                   repayment of prior payments made to Servicer under Section 4, provided, however, Fannie Mae
                   will seek to obtain repayment of prior payments made under Section 4 only with respect to
                   Services that are determined by Fannie Mae or Freddie Mac to have been impacted by, or that
                   Fannie Mae or Freddie Mac believes may have been, or may be, impacted by, the Event ofDefault
                   giving rise to the remedy.

                    (3) Fannie Mae may require Servicer to submit to additional Program administrator oversight,
                    including, but not limited to, additional compliance controls and quality control reviews.

                    (4) Fannie Mae may terminate the Agreement and cease its performance hereunder, or cease its
                    performance hereunder as to any Program in which Servicer is a participant.

                    (5) Fannie Mae may require Servicer to submit to information and reporting with respect to its
                    financial condition and ability to continue to meet its obligations under the Agreement.

C. The following constitute acts of bad faith ofInvestors and borrowers in connection with the Programs (each, an "Act of
Bad Faith" and, collectively, "Acts of Bad Faith"): an Investor or borrower commits a grossly negligent, willful or
intentional, or reckless act (including, but not limited to, misrepresentation or fraud) in connection with any ofthe Programs



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(including, but not limited to, in connection with such Investor's or borrower's response to Program questionnaires, the
execution or delivery to Servicer, Fannie Mae, or Treasury of any ofthe agreements relating to such Investor's or borrower's
participation in any of the Programs and the production of supporting documentation therefore and in connection with any
audit or review by Freddie Mac for Investor or borrower compliance with the Programs). For brevity, any such Investor or
borrower is referred to in this subsection as a "defaulting party" or as a "defaulting" Investor or borrower and the Act ofBad
Faith by such Investor or borrower as a "default."

D. Fannie Mae may take any, all, or none ofthe following actions ifan Act ofBad Faith involving an Investor or a borrower
occurs, or is reasonably believed by Fannie Mae to have occurred, in connection with any of the Programs:

                    (I) Fannie Mae may withhold all or any portion ofthe Purchase Price payable to, or for the credit
                    or account of, the defaulting party until, in Fannie Mae's determination, the default has been cured
                    or otherwise remedied to Fannie Mae's satisfaction.

                    (2) Fannie Mae may: (i) reduce the amounts payable to Servicer for the credit, or account of, the
                    defaulting party under Section 4; and/or (ii) obtain repayment ofprior payments made to or for the
                    credit or account ofthe defaulting party under Section 4. Servicer will reasonably cooperate with,
                    and provide reasonable support and assistance to, Fannie Mae and Freddie Mac in connection with
                    their respective roles and, in Fannie Mae's case, in connection with its efforts to obtain repayment
                    of prior payments made to Investors and borrowers as provided in this subsection.

                    (3) Fannie Mae may require Servicer to submit to additional Program administrator oversight,
                    including, but not limited to, additional compliance controls and quality control reviews.

                    (4) Fannie Mae may cease its performance hereunder as to some or all of the Services subject to
                    the Agreement that relate to the defaulting Investor or borrower.

                    (5) Fannie Mae may terminate the Agreement and cease its performance hereunder ifActs ofBad
                    Faith occur on a recurring basis, are widespread among the Investor or borrower bases served by
                    Servicer, or occur in combination or in connection with one or more Events of Default by
                    Servicer.

E. In addition to the termination rights set forth above, Fannie Mae may terminate the Agreement or any Program implemented
under the Agreement immediately upon written notice to Servicer:

                    (I) at the direction of the Treasury;

                    (2) in the event of a merger, acquisition, or other change of control of Servicer;

                    (3) in the event that a receiver, liquidator, trustee, or other custodian is appointed for the Servicer; or

                    (4) in the event that a material term ofthe Agreement is determined to be prohibited or unenforceable as
                    referred to in Section II.C.

F. The Agreement will terminate automatically:

                    (1) in the event that the Financial Agency Agreement, dated February 18,2009, by and between
                    Fannie Mae and the Treasury is terminated; or

                    (2) upon the expiration or termination of all ofthe Programs implemented under the Agreement.



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G. The effects of the expiration or termination of the Agreement are as follows:

                    (1) In the event that the Agreement expires at the end ofthe Initial Term or any extension thereofpursuant
                    to Section 5, or in the event that the Agreement expires or is terminated pursuant to Section 6.E. or 6.F.,
                    Farmie Mae shall, solely in its capacity as the financial agent of the United States, continue to remit all
                    amounts that are properly payable pursuant to Section 4 to Servicer in accordance with the Program
                    Documentation until paid in full, provided, however, that Purchase Price payments will be made only with
                    respect to Services that were performed in accordance with the applicable Program Documentation prior to
                    the date of expiration or termination and that do not exceed the Program Participation Cap.

                    (2) In the event that the Agreement is terminated in connection with an Event of Default by Servicer, no
                    compensation with respect to any Service will be paid to Servicer for the account of the Servicer
                    subsequent to termination; Fannie Mae's only continuing obligations as financial agent of the United
                    States subsequent to termination will be to remit all payments that are properly payable pursuant to Section
                    4 to Servicer (or, at Fannie Mae's discretion, an alternative provider) for the account of borrowers and
                    Investors in accordance with the Program Documentation until paid in full.

                    (3) In the event that the Agreement is terminated in connection with an Act ofBad Faith by an Investor or
                    a borrower, no compensation with respect to any Services will be paid to Servicer for the credit or account
                    ofthe defaulting Investor or borrower subsequent to termination; Fannie Mae's only continuing obligation
                    as financial agent of the United States subsequent to termination will be to remit all payments that are
                    properly payable pursuant to Section 4 to Servicer for the credit or account of non-defaulting parties as
                    described in the applicable Program Documentation until paid in full. For the avoidance of doubt, ifthe
                    Act of Bad Faith resulting in the termination of the Agreement occurs in connection with an Event of
                    Default of Servicer, no compensation with respect to any Service will be paid to Servicer for the account
                    of the Servicer subsequent to termination.

H. Fannie Mae, in its capacity as the financial agent ofthe United States, may reduce the amounts payable to Servicer under
Section 4, or obtain repayment of prior payments made under Section 4, in connection with: (a) an evaluation of Servicer's
performance that includes any specific findings by Freddie Mac that Servicer's performance under any performance criteria
established pursuant to the Program Documentation is materially insufficient, or (b) any failure by Servicer to comply
materially with any directive issued by Fannie Mae or Freddie Mac with respect to documents or data requested, findings
made, or remedies established, by Farmie Mae and/or Freddie Mac in conjunction with such performance criteria or other
Program requirements; provided, however, Fannie Mae will seek to obtain repayment ofprior payments made under Section 4
only with respectto Services that are determined by Farmie Mae or Freddie Mac to have been impacted by, or that Fannie Mae
or Freddie Mac believes may have been, or may be, impacted by, the findings giving rise to this remedy. Fannie Mae may
initially avail itself of this remedy in lieu of a specific declaration of an Event of Default, provided, however, that doing so
shall not preclude Fannie Mae from later declaring an Event ofDefault or exercising any other rights or remedies otherwise
available to it under this Section 6, or at law orin equity, in connection with the event giving rise to this remedy, or any future
events giving rise to this remedy.

I. The remedies available to Fannie Mae upon an Event ofDefault and an Act ofBad Faith under this Section are cumulative
and not exclusive; further, these remedies are in addition to, and not in lieu of, any other remedies available to Fannie Mae at
law or in equity.

J. In the event ofthe expiration or termination ofthe Agreement or any Program implemented under the Agreement under any
circumstances, Servicer and Farmie Mae agree to cooperate with one another on an ongoing basis to ensure an effective and
orderly transition or resolution ofthe Services, including the provision ofany information, reporting, records and data required
by Farmie Mae and Freddie Mac.



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K. Ifan Event ofDefault under Section 6.A.I., Section 6.A.4., or Section 6.A.5. occurs and Fannie Mae determines, in its sole
discretion, that the Event of Default is curable and elects to exercise its right to terminate the Agreement, Fannie Mae will
provide written notice ofthe Event ofDefaultto Servicer and the Agreement will terminate automatically thirty (30) days after
Servicer's receipt ofsuch notice, ifthe Event of Default is not cured by Servicerto the reasonable satisfaction ofFannie Mae
prior to the end of such thirty (30) day period. IfFannie Mae determines, in its sole discretion, that an Event ofDefault under
Section 6.A.I., Section 6.A.4., or Section 6.A.5. is not curable, or ifan Event ofDefault under Section 6.A.2. or Section 6.A.3.
occurs, and Fannie Mae elects to exercise its right to terminate the Agreement under Section 6.B.4., Fannie Mae will provide
written notice of termination to the Servicer on or before the effective date ofthe termination.

7. Disputes

Fannie Mae and Servicer agree that it is in their mutual interestto resolve disputes by agreement. Ifa dispute arises under the
Agreement, the parties will use all reasonable efforts to promptly resolve the dispute by mutual agreement. Ifa dispute cannot
be resolved informally by mutual agreement at the lowest possible level, the dispute shall be referred up the respective chain of
command of each party in an attempt to resolve the matter. This will be done in an expeditious manner. Servicer shall
continue diligent performance ofthe Services pending resolution ofany dispute. Fannie Mae and Servicer reserve the right to
pursue other legal or equitable rights they may have concerning any dispute. However, the parties agree to take all reasonable
steps to resolve disputes internally before commencing legal proceedings.

8. Transfer or Assignment; Mergers, Acquisitions and Changes of Control; Effects of Assignment

A. Mortgage loans and servicing rights are freely transferable under this Agreement, subject to: (i) the contractual
requirements regarding notice and the execution and delivery ofthe Assignment and Assumption Agreement, in the form of
Exhibit D, set forth in Sections 8 and 9 hereof, and (li) any restrictions under applicable Federal, state and local laws,
regulations, regulatory guidance, statutes, ordinances, codes and requirements. Servicer must provide written notice to Fannie
Mae and Freddie Mac pursuant to Section 9 below of: (i) any transfers or assigrnnents of mortgage loans, or servicing rights
relating to mortgage loans, that are 60 or more days delinquent and otherwise eligible for consideration or process under one or
more of the Programs at the time of transfer or assigrnnent, or for which the Servicer is performing Services at the time of
transfer or assignment (collectively, "Eligible Loans"); and (li) any other transfers or assignments of Servicer's rights and
obligations relating to Eligible Loans under this Agreement, including, but not limited to, transfers or assigrnnents ofany rights
or obligations relating to Eligible Loans under this Agreement that occur in connection with the merger, acquisition, or other
change of control of Servicer. Such notice must include payment instructions for payments to be made to the transferee or
assignee ofthe Eligible Loans, servicing rights or other rights and obligations subjectto the notice (ifapplicable), and, subject
to Section 8.B. below, evidence of the assumption by such transferee or assignee of the Eligible Loans, servicing rights or
other rights and obligations that are transferred, in the form of Exhibit D (the "Assignment and Assumption Agreement").
Servicer acknowledges that Fannie Mae will continue to remit payments to Servicer in accordance with Section 4 for Services
relating to mortgage loans, servicing rights or other rights and obligations that have been assigned or transferred, and that
Servicer will be liable for underpayments, overpayments and misdirected payments, uniess and until such notice and an
executed Assignment and Assumption Agreement are provided to Fannie Mae and Freddie Mac.

B. Servicer shall notity Fannie Mae as soon as legally possible of any proposed merger, acquisition, or other change of
control of Servicer, and of any financial and operational circumstances which may impair Servicer's ability to perform its
obligations under the Agreement, in accordance with Sections 8 and 9, provided, however, that Servicer need not execute and
deliver an Assigrnnent and Assumption Agreement in the form ofExhibit D in the event that the assignment and assumption
occur by operation oflaw in connection with a merger, acquisition, or other change ofcontrol ofServicer and are effective as
to all of Servicer's rights and obligations under this Agreement with respect to all ofthe mortgage loans it services.

C. The effects of transfers and assigrnnents under this Agreement are as follows:




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                 (1)      Ifthe Servicer transfers or assigns all or any portion of its portfolio of mortgage loans or servicing
                 rights to a third party pursuant to an Assignment and Assumption Agreement, only the Eligible Loans must
                 be identified on a schedule to the Assignment and Assumption Agreement. The transferee or assignee of
                 Servicer's mortgage loans and servicing rights must assume Servicer's obligations under this Agreement
                 only with respect to Eligible Loans, subject to the Service Schedules and the Program Documentation
                 applicable to the Programs in which Servicer agreed to participate prior to the transfer or assignment. Any
                 mortgage loans or servicing rights that (1) are not Eligible Loans at the time ofthe transfer or assignment, (II)
                 are a part of the transferee's or assignee's existing portfolio prior to the transfer or assignment, or (III)
                 become a part of the transferee's or assignee's portfolio subsequent to such transfer or assignment will
                 become subject to the Programs only if the transferee or assignee has itself executed a Commitment to
                 Purchase Financial Instrument and Servicer Participation Agreement separate and apart from the transfer or
                 assignment involving Servicer and, then, only in accordance therewith.

                 (2)      Ifthe Servicer transfers or assigns its portfolio ofmortgage loans and servicing rights to a third party
                 in connection with a merger, acquisition, or other change of control and the transfer or assignment is
                 effective by operation of law, the transferee or assignee of such mortgage loans and servicing rights must
                 provide servicing with respect to all such mortgage loans and servicing rights (regardless ofstatus atthe time
                 oftransfer or assignment with respect to Program eligibility) in accordance with this Agreement, subject to
                 the Service Schedules and the Program Documentation applicable to the Programs in which Servicer agreed
                 to participate prior to the transfer or assignment. Any mortgage loans or servicing rights that (1) are a part of
                 the transferee's or assignee's existing portfolio prior to the transfer or assignment, or (II) become a part of
                 the transferee's or assignee's portfolio subsequent to such transfer or assignment will become subject to the
                 Programs only if the transferee or assignee has itself executed a Commitment to Purchase Financial
                 Instrument and Servicer Participation Agreement separate and apart from the transfer or assignment
                 involving Servicer and, then, only in accordance therewith.

                 (3)    Servicer may not transfer or assign any mortgage loans or servicing rights to any third party in a
                 manner that is intended to circumvent, or has the effect of circumventing, Servicer's obligations under this
                 Agreement.

9. Notices

All legal notices under the Agreement shall be in writing and referred to each party's point of contact identified below at the
address listed below, or to such other point ofcontact at such other address as may be designated in writing by such party. All
such notices under the Agreement shall be considered received: (a) when personally delivered; (b) when delivered by com-
mercial overnight courier with verification receipt; (c) when sent by confirmed facsimile; or (d) three (3) days after having been
sent, postage prepaid, via certified mail, return receipt requested. Notices shall not be made or delivered in electronic form,
except as provided in Section 12.B. below, provided, however, that the party giving the notice may send an e-mail to the party
receiving the notice advising that party that a notice has been sent by means permitted under this Section.



        To Servicer:

       ~LC
        345 Saint Peter Street
        Saint Paul, MN 55102




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        To Fannie Mae:

        Fannie Mae
        3900 Wisconsin Ave, NW




        To Treasury:




       Department of Treasury
       1500 Pennsylvania Avenue, NW
     -Washin on, DC 20220


        To Freddie Mac:

        Freddie Mac
        8100 Jones Branch Drive
        McLean, VA 22102
        Attn: Vice President, Making Home Affordable - Compliance
        Facsimile: (703) 903-2544
        Email: MHA_Compliance@freddiemac.com


10. Modifications

A. Subject to Sections 10.B. and 10.C., modifications to the Agreement shall be in writing and signed by Fannie Mae and
Servicer.

B. Fannie Mae and the Treasury each reserve the right to unilaterally modifY or supplement the terms and provisions ofthe
Program Documentation that relate (as determined by Fannie Mae or the Treasury, in their reasonable discretion) to the
compliance and performance requirements of the Programs, and related remedies established by Freddie Mac, and/or to
technical, administrative, or procedural matters or compliance and reporting requirements that may impact the administration
of the Programs.

C. Notwithstanding Sections IO.A. and 10.B., any modification to the Program Documentation that materially impacts the
borrower eligibility requirements, the amount of payments of the Purchase Price to be made to Participating Servicers,
Investors and borrowers under any of the Programs in which Servicer participates, or the rights, duties, or obligations of
Participating Servicers, Investors or borrowers in connection with any ofthe Programs in which Servicer participates (each, a
"Program Modification" and, collectively, the "Program Modifications") shall be effective only on a prospective basis;
Participating Servicers will be afforded the opportunity to opt-out of a modified Program when Program Modifications are
published with respect to the Services to be performed by Servicer in connection with the modified Program on or after the



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effective date ofthe Program Modification, at Servicer's discretion. Opt-out procedures, including, but not limited to, the time
and process for notification of election to opt-out and the window for such election, will be set forth in the Program
Documentation describing the Program Modification, provided, however, that Servicer will be given at least thirty (30) days to
elect to opt-out ofa Program Modification. For the avoidance ofdoubt, during the period during which Servicer may elect to
opt-out of a Program Modification and after any such opt-out is elected by Servicer, Servicer will continue to perform the
Services described in the Financial Instrument and the Program Documentation (as the Program Documentation existed
immediately prior to the publication of the Program Modification prompting the opt-out) with respect to any Services that
Servicer had already begun to perform prior to the opt-out.

11. Miscellaneous

A. The Agreement shall be governed by and construed under Federal law and not the law of any state or locality, without
reference to or application ofthe conflicts oflaw principles. Any and all disputes between the parties that cannot be settled by
mutual agreement shall be resolved solely and exclusively in the United States Federal courts located within the District of
Columbia. Both parties consent to the jurisdiction and venue of such courts and irrevocably waive any objections thereto.

B. The Agreement is not a Federal procurement contract and is therefore not subject to the provisions ofthe Federal Property
and Administrative Services Act (41 U.S.C. §§ 251-260), the Federal Acquisition Regulations (48 CFR Chapter I), or any
other Federal procurement law.

C. Any provision of the Agreement that is determined to be prohibited or unenforceable in any jurisdiction shall, as to such
jurisdiction, be ineffective to the extent ofsuch prohibition or unenforceability without invalidating the remaining provisions
ofthe Agreement, and no such prohibition or unenforceability in any jurisdiction shall invalidate such provision in any other
jurisdiction.

D. Failure on the part of Fannie Mae to insist upon strict compliance with any of the terms hereof shall not be deemed a
waiver, nor will any waiver hereunder at any time be deemed a waiver at any other time. No waiver will be valid unless in
writing and signed by an authorized officer ofFannie Mae. No failure by Fannie Mae to exercise any right, remedy, or power
hereunder will operate as a waiver thereof. The rights, remedies, and powers provided herein are cumulative and not
exhaustive of any rights, remedies, and powers provided by law.

E. The Agreement shall inure to the benefit of and be binding upon the parties to the Agreement and their permitted
successors-in-interest.

F. The Commitment, the Service Schedule(s) and the Assignment and Assumption Agreement (ifapplicable) may be executed
in two or more counterparts (and by different parties on separate counterparts), each of which shall be an original, but all of
which together shall constitute one and the same instrument.

G. The Commitment, together with the Service Schedule(s), the Financial Instrument, the Certifications, the Assignment and
Assumption Agreement (if applicable) and the Program Documentation, constitutes the entire agreement ofthe parties with
respect to the subject matter hereof. In the event of a conflict between any of the foregoing documents and the Program
Documentation, the Program Documentation shall prevail. In the event ofa conflict between the Program Guidelines and the
Supplemental Directives, the Program Guidelines shall prevail.

H. Any provisions of the Agreement (including all documents incorporated by reference thereto) that contemplate their
continuing effectiveness, including, but not limited to, Sections 4, 5.B., 6, 8, 9, II and 12 ofthe Commitment, and Sections 2,
3,5,7,8,9 and 10 ofthe Financial Instrument, and any other provisions (or portions thereof) in the Agreement that relate to,
or may impact, the ability of Fannie Mae and Freddie Mac to fulfill their responsibilities as agents of the United States in
connection with the Programs, shall survive the expiration or termination of the Agreement.




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12. Defined Terms; Incorporation by Reference; Effect of Amendment and Restatement

A. All references to the "Agreement" necessarily include, in all instances, the Commitment and all documents incorporated
into the Commitment by reference, whether or not so noted contextually, and all amendments and modifications thereto.
Specific references throughout the Agreement to individual documents that are incorporated by reference into the Commitment
are not inclusive of any other documents that are incorporated by reference, unless so noted contextually.

B. The term "Effective Date" means the date on which Fannie Mae transmits a copy ofthe fully executed Commitment, Initial
Service Schedule(s) and Financial Instrument to Treasury and Servicer with a completed cover sheet, in the form attached
hereto as Exhibit E (the "Cover Sheet"); the Agreement shall be effective on the Effective Date. Any Additional Service
Schedules that are executed and delivered to Fannie Mae after the Effective Date of the Agreement shall be also be
accompanied by a completed Cover Sheet and shall be effective on the effective date or dates set forth therein. All executed
documents and accompanying Cover Sheets will be faxed, emailed, or made available through other electronic means to
Treasury and Servicer in accordance with Section 9.

C. The Program Documentation and Exhibit A - Service Schedule(s) (Service Schedule A-I, et seq.), Exhibit B - Form of
Financial Instrument, Exhibit C - Form of Certification, Exhibit D - Form of Assignment and Assumption Agreement and
Exhibit E - Form of Cover Sheet (in each case, in form and, upon completion, in substance), including all amendments and
modifications thereto, are incorporated into this Commitment by this reference and given the same force and effect as though
fully set forth herein.

D. The Prior Agreement is amended and restated in its entirety, and all ofthe terms and conditions ofthe Prior Agreement are
superseded by the terms and conditions of this Agreement, effective as of the Effective Date of this Agreement.


                               [SIGNATURE PAGE FOLLOWS; REMAINDER OF PAGE
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In Witness Whereof, Servicer and Fannie Mae by their duly authorized officials hereby execute and deliver tWs Amended and
Restated Commitment to Purchase Financial Instrument and ServiceI' Participation Agreement as ofthe Effective Date.


SERVICER: Green Tree Servicing, LLC                               FANNIE MAE, solely as Financial Agent ufthe
                                                                  United States

 --~~
BY~~
           Brian f. corey    L
                               ._-----
Name:   Sr Vice prelldent
Title:  & Secretary
Date: .~kY '::7-, bOlO


        EXHIBITS

        Exhibit A           Service Schedule(s)

        ExhlbltB        Form of Financial Instrument

        ExhibitC        Form of Certification

        ExhibitD        Form ofAssignment and Asswnption Agreement

        ExhibltE            Form of Cover Sheet
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                                                  EXHIBIT A

                                          SERVICE SCHEDULEfS)

  The attached Service Schedules together comprise Exhibit A to that certain Amended and Restated
  Commitment to Purchase Financial Instrument and Servicer Participation Agreement (the "Commitment"),
  entered into as ofthe Effective Date, by and between Federal National Mortgage Association ("Fannie Mae"),
  a federally chartered corporation, acting as financial agent of the United States, and the undersigned party
  ("Servicer").

  Each of the Service Schedules attached hereto is effective as of the Effective Date, or on such other date or
  dates as may be specified therein. All of the capitalized terms that are used but not defined in the Service
  Schedules shall have the meanings ascribed to them in the Commitment.

  Exhibit A is deemed to be amended to include all Additional Service Schedules (ifany) that are executed and
  delivered by the parties after the Effective Date in accordance with the Agreement, without any further action
  on the part ofthe parties hereto.
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                                                   SERVICE SCHEDULE A·I

  This Service Schedule is appended to that oertain Amended and Restated Commitment to Purohase Finanoiallnstrumentand
  Servicer Participation Agreement (the "Commitment"), entered Into as ofthe Effeetive nate, by and between Federal National
  Mortgage Assooiation ("Fannie Mae"), a federally chartered corporation, acting as financial agent ofthe United States, and the
  undersigned party ("~'), and, together with all other Services Schedules appended thereto (lfany), constitutesExhibit Ato
  the Commitment.

   All ofthe capitalized terms that are used but not defined below shall have the meanings ascribed to them in the Commitmentorin
   applicable Program Documentation.

            1. Program Name:

           Servicer hereby elects to participate in the following Program:

           Home Affordable Modification Program (RAMP)

           1. Descrlptlon of Program Serylsea:

           All services required to be performed by a partioipatlng servicer as set forth in the Program Documentation for
           the Home Affordable Modification Program under the Emergenoy Economic Stabilization Act of 2008, as
           amended, Including, but not limited to, obligations relating to the modifioation offirstlien mortgage loans and
           the provision of loan modification and foreclosure prevention services relating thereto.

           3. Effective date of Serylce Schedule:


           This Service Scbedulels effe.tlve as of 04/24/2009.


   In Witness Whereof, Serviocr and Fannie Mae by their duly authorized offioials hereby execute and deliver this Service Sohedule
   as oflhe effeotive date oflhe Service Schedule set forth above.


  SERVICER: Green Tree Servicing, LLC                                         FANNIE MAE, solely as Finanoial Agent oflhe United
                                                                              States




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                                                   SERVICE SCHEDULE A-2

  This Service Schedule is appended to that certain Commitment to Purchsse Financial Instrument and Servicer Participation
  Agreement (the "Commitmenf'), entered into ss ofthe Effective Date, by and between Federal National Mortgage Association
  (''Fannie Mae"), a federally chartered corporation. acting as financial agent of the United States. and the nndersigned party
  ("~"), and, together with all other Services Schedules appended thereto (ifany), constitutes Exhibit A to the Conunitment.

  All ofthe capitalized terms that are used but not defined below shall have the meanings nacribed to them inthe Commitment or in
  applicable Program Documentation.

           1. -Program Name:

           Servicer hereby eiects to partioipate in ti,e following Program(s):

           Second Lien Modification Program

           2. Description of Prg8ram ServiceS:

          AU services required to be performed by a participating servicer as set forth in the ProgramDoeumentation for
          the Second Lien Modification Program under the Bmergency Economic Stabilization Aot of2008. as amended.
          including. but not limited to, obligations relating to the modification or extinguishment ofsecond lien mortgage
          loans and the provision of loan modification and foreclosure prevention services relating thereto.

          3. EffWlye date of Seryice Schedule:

          This Service Schedule is executed and delivered contemporaneouslywlth the Commitment; a..ordlngly,
          the effective date of this Service Schedule Is the Effective Date of the Agreement.



  In Wltne..Whereof, Servicer and Fannie Mae by theb' duly authorized officials hereby execute and deUverthis Service Schedule
  na ofthe effective date ofthe Service Schedule set forth above.


 SERVICER: Green Tree Servielng, LLC                                             FANNIE MAE, solely as Financial Agent ofthe United
                                                                                 States




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                                                    SERVICE SCHEDULE A-3

  This Service Schedule is appended to that certain Amended and Restated Commitment 10 Purchase Financial Ins~rument and
  Servicer Participation Agreement (the "Commihnent'l), entered into as of the Effective Date, by and between Federal National
  Mortgage Association ("Fannie Mae"), a federally chartered corporation, acting as financial agent of the United States, and the
  undersigned party ("Servicer"), and, together with all other Services Schedules appended thereto (if any), constitutes Exhibit A to
  the Commihnent.

  All ofthe capitalized teons that are used but not defined below shall have the meAnings ascribed to them in the Commitment or in
  applicable Program Documentation.

           1. Program Name:

           Servicer hereby elects to participate in the following Program(s):

           Treasury Federal Housing Administration - Home Affordable Modification Program (freasury FHA-
           HAMP)

           2, Description of Program Services:

           All services required to be perfonned by a participating servicer relating to Treasury FHA~H.Al\1P, as set forth
           in guidance issued by the Federal Housing Administration from time to time; including Mortgagee Letter 2009     w



           23, 2009·35, 2009-39, 2010-04 and 20 I 0-1 0, and in the Program Documeutation for including Treasury FHA·
           HAMP in the Home Affordable Modification Program under the Emergency Economic Stabilization Act of
           2008, as amended, including, but not limited to. obligations relating to the modification of first lien mortgage
           loans insured by the Federal Housing Administration and the provision of loan modification and foreclosure
           prevention services relating thereto.

           3. Effective date of Service Schedule:

           This Service Schedule is executed and delivered contemporaneously with the Commitment; accordIngly,
           the effective dale of tbis Service Scbedule is the Effective Date of Ibe Agreement.


  In Witness Whereof. Servicer and Fannie Mae by their duly authorized offIcials hereby execute and deliver this Service Schedule
  as of the effective date of tile Service Schedule set forth above.


 SERVICER: Green Tree Servicing LLC                                             FANNIE MAE, solely as Financial Agent ofthe United
                                                                                States



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 Date:            ---Cl{;'--V""'fCJ.:-:.tI-"P'--                _               Date:_ _.Ii"'\I<&'U-_ _~                           _




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                                                     SERVICE SCHEDULE A-4

        This Service Schedule is appended to that certain Amended and Restated Commitment to Purchase Financial
        lnsfmment and Servicer Participation Agreement (the "Commitment"), entered into asafthe Effective Date, by
        and between Federal National Mortgage Association ("Falwie Mae"), a federally chartered corporation, acting
        as financial agent of the United States, and the undersigned party ("Servicer!», and. together with all other
        Services Schedules appended thereto (if any). constitutes Exhibit A to the Commitment.

        All of the capitalized terms that are used but not defined below shall have the meanings ascribed to them in the
        Commitment or in applicable Program Documentation.

                 1. Program Name:

                 Servicer hereby elects to participate in the following Program(s):

                 TreasurylFHA-Second Lien Program (FHA2LP)

                 2. Description of Program Services:

                 All services required to be perfonned by a participating servicer relating to FHA2LP, as set forth in
                 the Program Documentation for FHA2LP in the Making Home Affordable Program under the
                 Emergency Economic Stabilization Act of 2008, as amended.

                 J. Effective date of Service Scbedule:

                 This Service Schedule Js executed and delivered contemporaneously with the Commitment;
                 accordingly, the effective date of this Service Scbedule is tbe Effective Date of tbe Agreement.

                 4.   OPt-Out Rigbt:

                 For the avoidance of doubt, issuance of an FHA2LP Program Modification requiring mandatory
                 second lien principal forgiveness shall alford Servicer the opportunity to opt-out of FHA2LP in
                 accordance with section 10.C. of the Agreement. Servicer shall bave thirty (30) calendar days from
                 the date any such Program Modification is published to make an optpout election.


        In Witness Whereof, Servicer and Fannie Mae by their duly authorized officials hereby execute and deliver
        this Service Schedule as of the effective date of the Service Schedule set forth above.


        SERVICER:                                                       FANNIE MAE. solely as Financial Agent
        Green Tree Servicing LLC                                        of the United States




                                                                        BY:;;;~~~~j~~=====
                                                                        Name:
                                                                        Title:_ _-H~~'!- _
                                                                        Date:_ _#"JYf'I!i!fJ.L--                      _
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                                   EXHIBITB

                        FORM OF FINANCIAL INSTRUMENT




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                                           FINANCIAL INSTRUMENT

This Financial Instrument is delivered as provided in Section 1 ofthe Amended and Restated Commitment to Purchase
Financial Instrument and Servicer Participation Agreement (the "Commitment"), entered into as ofthe Effective Date,
by and between Federal National Mortgage Association ("Fannie Mae"), a federally chartered corporation, acting as
financial agent ofthe United States, and the undersigned party ("Servicer"). This Financial Instrument is effective as
of the Effective Date. All of the capitalized terms that are used but not defined herein shall have the meanings
ascribed to them in the Commitment.

For good lU1d valuable consideration, the receipt and sufficiency ofwhich is hereby acknowledged, Servicer agrees as
follows:
1.      Purchase Price Consideration: Services. This Financial Instrument is being purchased by Fannie Mae
        pursuant to Section 4 ofthe Commitment in consideration for the payment by Fannie Mae, in its capacity as a
        financial agent ofthe United States, ofvarious payments detailed in the Program Documentation and referred
        to collectively in the Commitment as the "Purchase Price."

                (a) The conditions precedent to the payment by Fannie Mae ofthe Purchase Price with respectto the
                    Services described on the Initial Service Schedules are: (i) the execution and delivery of this
                    Financial Instrument, the Commitment and the Initial Service Schedules by Servicer to Fannie
                    Mae; (Ii) the execution and delivery of the Commitment and the Initial Service Schedules by
                    Fannie Mae to Servicer; (iii) the delivery of copies of the fully executed Commitment, Initial
                    Service Schedules and Financial Instrument to Treasury on the Effective Date ofthe Agreement;
                    (iv) the performance by Servicer of the Services described in the Agreement; and (v) the
                    satisfaction by Servicer ofsuch other obligations as are set forth in the Agreement. Servicer shall
                    perform all Services in consideration for the Purchase Price in accordance with the terms and
                    conditions ofthe Agreement, to the reasonable satisfaction of Fannie Mae and Freddie Mac.

                 (b) The conditions precedent to the payment by Fannie Mae ofthe Purchase Price with respect to the
                     Services described on the Additional Service Schedules (if any) are: (i) the execution and
                     delivery ofthe Additional Service Schedules and the Certification by Servicer to Fannie Mae; (Ii)
                     the execution and delivery ofthe Additional Service Schedules by Fannie Mae to Servicer; (iii)
                     the delivery of copies of the fully executed Additional Service Schedules to Treasury; (iv) the
                     performance by Servicer of the Services described in the Agreement, in accordance with the
                     terms and conditions thereof, to the reasonable satisfaction ofFannie Mae and Freddie Mac; and
                     (v) the satisfaction by Servicer of such other obligations as are set forth in the Agreement.
2.      Authoritv and Agreement to Participate in Program. Subject to the limitations set forth in Section 2 of the
        Agreement, Servicer shall use reasonable efforts to remove all prohibitions or impediments to its authority
        and to obtain all third party consents, waivers and delegations that are required, by contract or law, in order to
        perform the Services.

3.      Audits. Reporting and Data Retention.

                 (a) Freddie Mac, the Federal Housing Finance Agency and other parties designated by the Treasury
                     or applicable law shall have the right during normal business hours to conduct unannounced,
                     informal onsite visits and to conduct formal onsite and offsite physical, personnel and
                     information technology testing, security reviews, and audits of Servicer and to examine all
                     books, records and data related to the Services provided and Purchase Price received in
                     connection with each of the Programs in which Servicer participates on thirty (30) days' prior
                     written notice.




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              (b) Servicer will collect, record, retain and provide to Treasury, Fannie Mae and Freddie Mac all
                  data, information and documentation relating to the Programs in which Servicer participates as
                  required by applicable Program Documentation. All such data, information and documentation
                  must be provided to the Treasury, Fannie Mae and Freddie Mac as, when and in the manner
                  specified in applicable Program Documentation. In addition, Servicer shall provide copies of
                  executed contracts and tapes ofloan pools related to the Programs for review upon request.

              (c) Servicer shall promptly take corrective and remedial actions associated with reporting and
                  reviews as directed by Fannie Mae or Freddie Mac and provide to Fannie Mae and Freddie Mac
                  such evidence ofthe effective implementation ofcorrective and remedial actions as Fannie Mae
                  and Freddie Mac shall reasonably require. Freddie Mac may conduct additional reviews based
                  on its findings and the corrective actions taken by Servicer.

              (d) In addition to any other obligation to retain financial and accounting records that may be imposed
                  by Federal or state law, Servicer shall retain all information described in Section 3(b), and all
                  data, books, reports, documents, audit logs and records, including electronic records, related to
                  the performance of Services in connection with the Programs. In addition, Servicer shall
                  maintain a copy of all computer systems and application software necessary to review and
                  analyze these electronic records. Unless otherwise directed by Fannie Mae or Freddie Mac,
                  Servicer shall retain these records for at least 7 years from the date the data or record was created,
                  or for such longer period as may be required pursuant to applicable law. Fannie Mae or Freddie
                  Mac may also notify Servicer from time to time ofany additional record retention requirements
                  resulting from litigation and regulatory investigations in which the Treasury or any agents ofthe
                  United States may have an interest, and Servicer agrees to comply with these litigation and
                  regulatory investigations requirements.

4.    Internal Control Program.

              (a) Servicer shall develop, enforce and review on a quarterly basis for effectiveness an internal
                  control program designed to: (i) ensure effective delivery of Services in connection with the
                  Programs in which Servicer participates and compliance with applicable Program
                  Documentation; (ii) effectively monitor and detect loan modification fraud; and (iii) effectively
                  monitor compliance with applicable consumer protection and fair lending laws. The internal
                  control program must include documentation ofthe control objectives for Program activities, the
                  associated control techniques, and mechanisms for testing and validating the controls.

              (b) Servicer shall provide Freddie Mac with access to all internal control reviews and reports that
                  relate to Services under the Programs performed by Servicer and its independent auditing firm to
                  enable Freddie Mac to fulfill its duties as a compliance agent ofthe United States; a copy ofthe
                  reviews and reports will be provided to Fannie Mae for record keeping and other administrative
                  purposes.

5.    Representations, Warranties and Covenants. Servicer makes the following representations, warranties and
      covenants to Fannie Mae, Freddie Mac and the Treasury, the truth and accuracy of which are continuing
      obligations of Servicer. In the event that any of the representations, warranties, or covenants made herein
      cease to be true and correct, Servicer agrees to notify Fannie Mae and Freddie Mac immediately.

              (a) Serviceris established under the laws ofthe United States or any state, territory, or possession of
                  the United States or the District ofColumbia, and has significant operations in the United States.
                   Servicer has full corporate power and authority to enter into, execute, and deliver the Agreement



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               and to perform its obligations hereunder and has all licenses necessary to carry on its business as
               now being conducted and as contemplated by the Agreement.

           (b) Servicer is in compliance with, and covenants that all Services will be performed in compliance
               with, all applicable Federal, state and local laws, regulations, regulatory guidance, statutes,
               ordinances, codes and requirements, including, but not limited to, the Truth in Lending Act, 15
               USC 1601 § et seq., the Home Ownership and Equity Protection Act, 15 USC § 1639, the
               Federal Trade Commission Act, 15 USC § 41 et seq., the Equal Credit Opportunity Act, 15 USC
               § 701 et seq., the Fair Credit Reporting Act, 15 USC § 1681 et seq., the Fair Housing Act and
               other Federal and state laws designed to prevent unfair, discriminatory or predatory lending
               practices and all applicable laws governing tenant rights. Subject to the following sentence,
               Servicer has obtained or made, or will obtain or make, all governmental approvals or
               registrations required under law and has obtained or will obtain all consents necessary to
               authorize the performance of its obligations under the Programs in which Servicer participates
               and the Agreement. The performance of Services under the Agreement will not conflict with, or
               be prohibited in any way by, any other agreement or statutory restriction by which Servicer is
               bound, provided, however, that Fannie Mae acknowledges and agrees that this representation and
               warranty is qualified solely by and to the extent ofany contractual limitations established under
               applicable pooling and servicing agreements and other servicing contracts to which Servicer is
               subject. Servicer is not aware of any other legal or financial impediments to performing its
               obligations under the Programs in which Servicer participates or the Agreement and shall
               promptly notifY Fannie Mae ofany financial and/or operational impediments which may impair
               its ability to perform its obligations under such Programs or the Agreement. Servicer is not
               delinquent on any Federal tax obligation or any other debt owed to the United States or collected
               by the United States for the benefit of others, excluding any debt or obligation that is being
               contested in good faith.

            (c) Servicer covenants that: (i) it will perform its obligations in accordance with the Agreement and
                will promptly provide such performance reporting as Fannie Mae may reasonably require; (Ii) all
                Services will be offered to borrowers, fully documented and serviced, or otherwise performed, in
                accordance with the applicable Program Documentation; and (iii) all data, collection information
                and other information reported by Servicer to Fannie Mae and Freddie Mac under the
                Agreement, including, but not limited to, information that is relied upon by Fannie Mae or
                Freddie Mac in calculating the Purchase Price or in performing any compliance review will be
                true, complete and accurate in all material respects, and consistent with all relevant business
                records, as and when provided.

            (d) Servicer covenants that it will: (i) perform the Services required under the Program
                Documentation and the Agreement in accordance with the practices, high professional standards
                ofcare, and degree of attention used in a well-managed operation, and no less than that which the
                Servicer exercises for itselfunder similar circumstances; and (Ii) use qualified individuals with
                suitable training, education, experience and skills to perform the Services. Servicer acknowledges
                that Program participation may require changes to, or the augmentation of, its systems, staffing
                and procedures, and covenants and agrees to take all actions necessary to ensure it has the
                capacity to implement the Programs in which it participates in accordance with the Agreement.

            (e) Servicer covenants that it will comply with all regulations on conflicts of interest that are
                applicable to Servicer in connection with the conduct ofits business and all conflicts of interest
                and non-disclosure obligations and restrictions and related mitigation procedures set forth in the
                Program Documentation (if any), as they relate to the Programs in which Servicer participates.



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            (1) Servicer acknowledges that the provision of false or misleading information to Fannie Mae or
                Freddie Mac in connection with any of the Programs or pursuant to the Agreement may
                constitute a violation of: (a) Federal criminal law involving fraud, conflict ofinterest, bribery, or
                gratuity violations found in Title 18 ofthe United States Code; or (b) the civil False Claims Act
                (31 U.s.C. §§ 3729-3733). Servicer covenants to disclose to Fannie Mae and Freddie Mac any
                credible evidence, in connection with the Services, that a management official, employee, or
                contractor of Servicer has committed, or may have committed, a violation of the referenced
                statutes.

            (g) Servicer covenants to disclose to Fannie Mae and Freddie Mac any other facts or information that
                the Treasury, Fannie Mae or Freddie Mac should reasonably expect to know about Servicer and
                its contractors to help protect the reputational interests ofthe Treasury, Fannie Mae and Freddie
                Mac in managing and monitoring the Programs in which Servicer participates.

            (h) Servicer covenants that it will timely inform Fannie Mae and Freddie Mac of any anticipated
                Event of Default and of any Act of Bad Faith of which it becomes aware.

            (i) Servicer acknowledges that Fannie Mae or Freddie Mac may be required to assist the Treasury
                with responses to the Privacy Act of 1974 (the "Privacy Act"), 5 USC § 552a, inquiries from
                borrowers and Freedom ofInformation Act, 5 USC § 552, inquiries from other parties, as well as
                formal inquiries from Congressional committees and members, the Govermnent Accounting
                Office, Inspectors General and other govermnent entities, as well as media and consumer
                advocacy group inquiries about the Programs and their effectiveness. Servicer covenants that it
                will respond promptly and accurately to all search requests made by Fannie Mae or Freddie Mac,
                comply with any related procedures which Fannie Mae or Freddie Mac may establish, and
                provide related training to employees and contractors. In connection with Privacy Act inquiries,
                Servicer covenants that it will provide updated and corrected information as appropriate about
                borrowers' records to ensure that any system of record maintained by Fannie Mae on behalf of
                the Treasury is accurate and complete.

            0) Servicer acknowledges that Fannie Mae is required to develop and implement customer service
                call centers to respond to borrowers' and other parties' inquiries regarding the Programs, which
                may require additional support from Servicer. Servicer covenants that it will provide such
                additional customer service call support as Fannie Mae reasonably determines is necessary to
                support the Programs in which Servicer participates.

            (k) Servicer acknowledges that Fannie Mae and/or Freddie Mac are required to develop and
                implement practices to monitor and detect loan modification fraud and to monitor compliance
                with applicable consumer protection and fair lending laws. Servicer covenants that it will fully
                and promptly cooperate with Fannie Mae's inquiries about loan modification fraud and legal
                compliance and comply with any anti-fraud and legal compliance procedures which Fannie Mae
                and/or Freddie Mac may require. Servicer covenants that it will develop and implement an
                internal control program to monitor and detect loan modification fraud and to monitor
                compliance with applicable consumer protection and fair lending laws, among other things, as
                provided in Section 4 of this Financial Instrument and acknowledges that the internal control
                program will be monitored, as provided in such Section.

            (I) Servicer shall sign and deliver a Certification to Fannie Mae and Freddie Mac beginning on June
                1,2010 and again on June I ofeach year thereafter during the Term, and upon the execution and



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                  delivery by Servicer ofAdditional Service Schedule(s) (ifany) during the Term, in each case in
                  the form attached as Exhibit C to the Agreement.

              (m) Solely if Servicer has elected to participate in the Second Lien Modification Program by
                  executing and delivering to Fannie Mae a Service Schedule relating thereto, Servicer represents,
                  warrants and covenants that each mortgage loan it modifies under the Second Lien Modification
                  Program is, or will be at the time of modification, a lien that is second in priority relative to the
                  first lien that was modified under the Programs.

 6.   Use of Contractors. Servicer is responsible for the supervision and management ofany contractor that assists
      in the performance of Services in connection with the Programs in which Servicer participates. Servicer shall
      remove and replace any contractor that fails to perform. Servicer shall ensure that all of its contractors
      comply with the terms and provisions of the Agreement. Servicer shall be responsible for the acts or
      omissions of its contractors as if the acts or omissions were by the Servicer.

 7.   Data Rights.

              (a) For purposes of this Section, the following definitions apply:

                      (i)    "Data" means any recorded information, regardless ofform or the media on which it
                      may be recorded, regarding any of the Services provided in connection with the Programs.

                      (ii)    "Limited Rights" means non-exclusive rights to, without limitation, use, copy,
                      maintain, modifY, enhance, disclose, reproduce, prepare derivative works, and distribute, in
                      any manner, for any purpose related to the administration, activities, review, or audit of, or
                      public reporting regarding, the Programs and to permit others to do so in connection
                      therewith.

                      (iii)    "NPI" means nonpublic personal information, as defined under the GLB.

                      (iv)     "GLB" means the Gramm-Leach-Bliley Act, 15 U.S.C. 6801-6809.

              (b) Subject to Section 7(c) below, Treasury, Fannie Mae and Freddie Mac shall have Limited Rights,
                  with respect to all Data produced, developed, or obtained by Servicer or a contractor of Servicer
                  in connection with the Programs, provided, however, that NPI will not be transferred by Fannie
                  Mae in violation of the GLB and, provided, further, that Servicer acknowledges and agrees that
                  any use ofNPI by, the distribution ofNPI to, or the transfer ofNPI among, Federal, state and
                  local government organizations and agencies does not constitute a violation of the GLB for
                  purposes of the Agreement. Ifrequested, such Data shall be made available to the Treasury,
                  Fannie Mae, or Freddie Mac upon request, or as and when directed by the Program
                  Documentation relating to the Programs in which Servicer participates, in industry standard
                  useable format.

              (c) Servicer expressly consents to the publication ofits name as a participant in the Programs listed
                  on the Service Schedules, and the use and publication of Servicer's Data, subject to applicable
                  state and federal laws regarding confidentiality, in any form and on any media utilized by
                  Treasury, Fannie Mae or Freddie Mac, including, but not limited to, on any website or webpage
                  hosted by Treasury, Fannie Mae, or Freddie Mac, in connection with such Programs, provided
                  that no Data placed in the public domain: (i) will contain the name, social security number, or
                  street address of any borrower or other information that would allow the borrower to be



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                 identified; or, (ii) will, if presented in a form that links the Servicer with the Data, include (x)
                 information other than program performance and participation related statistics, such as the
                 number ofmodifications or extinguishments, performance ofmodifications, characteristics ofthe
                 modified loans, or program compensation or fees, or (y) any information about any borrower
                 other than creditworthiness characteristics such as debt, income, and credit score. In any Data
                 provided to an enforcement or supervisory agency with jurisdiction over the Servicer, these
                 limitations on borrower information shall not apply.

8.      Publicity and Disclosure.

             (a) Servicer shall not make use of any Treasury name, symbol, emblem, program name, or product
                 name, in any advertising, signage, promotional material, press release, Web page, publication, or
                 media interview, without the prior written consent of the Treasury.

             (b) Servicer shall not publish, or cause to have published, or make public use ofFannie Mae's name,
                 logos, trademarks, or any information about its relationship with Fannie Mae without the prior
                 written permission of Fannie Mae, which permission may be withdrawn at any time in Fannie
                 Mae's sole discretion.

             (c) Servicer shall not publish, or cause to have published, or make public use ofFreddie Mac's name
                 (I.e., "Freddie Mac" or "Federal Home Loan Mortgage Corporation"), logos, trademarks, or any
                 information about its relationship with Freddie Mac without the prior written permission of
                 Freddie Mac, which permission may be withdrawn at any time in Freddie Mac's sole discretion.

9.       Limitation of Liabilitv. IN NO EVENT SHALL FANNIE MAE, THE TREASURY, OR FREDDIE
         MAC, OR THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS OR
         AFFILIATES BE LIABLE TO SERVICER WITH RESPECT TO ANY OF THE PROGRAMS OR THE
         AGREEMENT, OR FOR ANY ACT OR OMISSION OCCURRING IN CONNECTION WITH THE
         FOREGOING, FOR ANY DAMAGES OF ANY KIND, INCLUDING, BUT NOT LIMITED TO
         DIRECT DAMAGES, INDIRECT DAMAGES, LOST PROFITS, LOSS OF BUSINESS, OR OTHER
         INCIDENTAL, CONSEQUENTIAL, SPECIAL OR PUNITIVE DAMAGES OF ANY NATURE OR
         UNDER ANY LEGAL THEORY WHATSOEVER, EVEN IF ADVISED OF THE POSSIBILITY OF
         SUCH DAMAGES AND REGARDLESS OF WHETHER OR NOT THE DAMAGES WERE
         REASONABLYFORESEEABLE; PROVIDED, HOWEVER. THAT THIS PROVISION SHALL NOT
         LIMIT FANNIE MAE'S OBLIGATION TO REMIT PURCHASE PRICE PAYMENTS TO SERVICER
         IN ITS CAPACITY AS FINANCIAL AGENT OF THE UNITED STATES IN ACCORDANCE WITH
         THE AGREEMENT.

 10.     Indemnification. Servicer shall indemnifY, hold harmless, and pay for the defense of Fannie Mae, the
         Treasury and Freddie Mac, and their respective officers, directors, employees, agents and affiliates
         against all claims, liabilities, costs, damages, judgments, suits, actions, losses and expenses, including
         reasonable attorneys' fees and costs of suit, arising out of or resulting from: (a) Servicer's breach of
         Section 5 (Representations, Warranties and Covenants) of this Financial Instrument; (b) Servicer's
         negligence, willful misconduct or failure to perform its obligations under the Agreement; or (c) any
         injuries to persons (including death) or damages to property caused by the negligent or willful acts or
         omissions of Servicer or its contractors. Servicer shall not settle any suit or claim regarding any of the
         foregoing without Fannie Mae's prior written consent if such settlement would be adverse to Fannie
         Mae's interest, or the interests of the Treasury or Freddie Mac. Servicer agrees to payor reimburse all
         costs that may be incurred by Fannie Mae and Freddie Mac in enforcing this indemnity, including
         attorneys' fees.



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   IN WITNESS WHEREOF, Servicer hereby executes this Financial Instrument on the date set forth below.

      Green Tree Servicing, LLC:

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                                                       Date
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                  BrIan F. Corey
                  Sr. Vice President
                  & Secretary




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                                   EXHIBITC

                            FORM OF CERTIFICATION
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                                                              CERTIFICATION

This Certification is delivered as provided in Section I.C. ofthe Amended and Restated Commitment to Pnrchase Financial Instrument and Servicer
Participation Agreement (the "Commitment"), effective as of[INSERT), by and between Federal National Mortgage Association ("Fannie Mae"), a
federally chartered corporation, acting as financial agent of the United States, and the undersigned party ("Servicer"). All terms used, but not
defined herein, shall have the meanings ascribed to them in the Commitment.

Servicer hereby certifies, as of[INSERT DATE ON WIDCH CERTIFICATION IS GIVEN], that:

            1.        Serviceris established under the laws ofthe United States or any state, territory, or possession ofthe United States or the
            District ofColumbia, and has significant operations in the United States. Servicer had full corporate power and authority to enter
            into, execute, and deliver the Agreement and to perform its obligations hereunder and has all licenses necessary to carry on its
            business as now being conducted and as contemplated by the Agreement.

            2.        Servicer is in compliance with, and certifies that all Services have been performed in compliance with, all applicable
            Federal, state and local laws, regulations, regulatory guidance, statutes, ordinances, codes and requirements, including, but not
            limited to, the Truth in Lending Act, IS USC 1601 § et seq., the Home Ownership and Equity Protection Act, IS USC § 1639, the
            Federal Trade Commission Act, IS USC § 41 et seq., the Equal Credit Opportunity Act, 15 USC § 701 et seq., the Fair Credit
            Reporting Act, 15 USC § 1681 et seq., the Fair Housing Act and other Federal and state laws designed to prevent unfair,
            discriminatory or predatory lending practices and all applicable laws governing tenant rights. Subject to the following sentence,
            Servicer has obtained or made all governmental approvals or registrations required under law and has obtained all consents
            necessary to authorize the performance ofits obligations under the Programs in which Servicer participated and the Agreement.
            The performance ofServices under the Agreement has not conflicted with, or been prohibited in any way by, any other agreement
            or statutory restriction by which Servicer is bound, except to the extent ofany contractual limitations under applicable pooling and
            servicing agreements and other servicing contracts to which Servicer is subject. Servicer is not aware of any other legal or
            financial impediments to performing its obligations under the Programs or the Agreement and has promptly notified Fannie Mae of
            any financial and/or operational impediments which may impair its ability to perform its obligations under the Programs or the
            Agreement. Servicer is not delinquent on any Federal tax obligation or any other debt owed to the United States or collected by
            the United States for the benefit of others, excluding any debts or obligations that are being contested in good faith.

            3.        (i) Servicer has performed its obligations in accordance with the Agreement and has promptly provided such performance
            reporting as Fannie Mae and Freddie Mac have reasonably required; (Ii) all Services have been offered by Servicer to borrowers,
            fully documented and serviced by Servicer in accordance with the applicable Program Documentation; and (iii) all data, collection
            information and other information reported by Servicerto Fannie Mae and Freddie Mac under the Agreement, including, but not
            limited to, information that was relied upon by Fanoie Mae and Freddie Mac in calculating the Purchase Price and in performing
            any compliance review, was true, complete and accurate in all material respects, and consistent with all relevant business records,
            as and when provided.

            4.        Servicer has: (i) performed the Services required under the Program Documentation and the Agreement in accordance
            with the pra,ctices, high professional standards ofcare, and degree ofattention used in a well-managed operation, and no less than
            that which the Servicer exercises for itselfunder similar circumstances; and (Ii) used qualified individuals with suitable training,
            education, experience and skills to perform the Services. Servicer acknowledges that Program participation required changes to, or
            the augmentation of, its systems, staffing and procedures; Servicer took all actions necessary to ensnre that it had the capacity to
            implement the Programs in which it participated in accordance with the Agreement.

            5.      Servicer has complied with all regulations on conflicts ofinterestthat are applicable to Servicer in connection with the
            conduct of its business and all conflicts of interest and non-disclosnre obligations and restrictions and related mitigation
            procednres set forth in the Program Documentation (if any), as they related to the Programs in which Servicer participated.

            6.        Servicer acknowledges that the provision offalse or misleading information to Fannie Mae or Freddie Mac in connection
            with the Programs or pursuant to the Agreement may constitute a violation of: (a) Federal criminal law involving fraud, conflict of
            interest, bribery, or gratuity violations found in Title 18 ofthe United States Code; or (b) the civil False Claims Act (31 U.S.C. §§
            3729-3733). Servicer has disclosed to Fannie Mae and Freddie Mac any credible evidence, in connection with the Services, that a
            management official, employee, or contractor of Servicer has committed, or may have committed, a violation ofthe referenced
            statutes.



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            7.      Servicer has disclosed to Fannie Mae and Freddie Mac any other fucts or infonnation that the Treasury, Fannie Mae or
            Freddie Mac should reasonably expect to know about Servicer and its contractors to help protect the reputational interests ofthe
            Treasury, Fannie Mae and Freddie Mac in managing and monitoring the Programs.

            8.        Servicer acknowledges that Fannie Mae and Freddie Mac may be required to assist the Treasury with responses to the
            Privacy Actofl974 (the "Privacy Act"), 5 USC § 552a, inquiries from borrowers and Freedom ofInfonnation Act, 5 USC § 552,
            inquiries from other parties, as well as fonnal inquiries from Congressional committees and members, the Govemment Accounting
            Office, Inspectors General and other government entities, as well as media and consumer advocacy group inquiries about the
            Programs and their effectiveness. Servicer has responded promptly and accurately to all search requests made by Fannie Mae and
            Freddie Mac, complied with any related procedures which Fannie Mae and Freddie Mac have established, and provided related
            training to employees and contractors. In connection with Privacy Act inquiries, Servicer has provided updated and corrected
            infonnation as appropriate about borrowers' records to ensure that any system ofrecord maintained by Fannie Mae on behalfof
            the Treasury is accurate and complete.

            9.       Servicer acknowledges that Fannie Mae is required to develop and implement customer service call centers to respond to
            borrowers' and other parties' inquiries regarding the Programs in which Servicer participates, which may require additional
            support from Servicer. Servicer has provided such additional customer service call support as Fannie Mae has reasonably
            requested to support such Programs.

            10.      Servicer acknowledges that Fannie Mae and/or Freddie Mac are required to develop and implement practices to monitor
            and detect loan modification fraud and to monitor compliance with applicable consumer protection and fair lending laws. Servicer
            has fully and promptly cooperated with Fannie Mae's inquiries about loan modification fraud and legal compliance and has
            complied with any anti-fraud and legal compliance procedures which Fannie Mae and/or Freddie Mac have required. Servicer has
            developed and implemented an internal control program to monitor and detect loan modification fraud and to monitor compliance
            with applicable consumer protection and fair lending laws, among other things, as provided in Section 4 of the Financial
            Instrument.

            11.     Solely if Servicer has elected to participate in the Second Lien Modification Program by executing and delivering to
            Fannie Mae a Service Schedule relating thereto, Servicer acknowledges that each mortgage loan it modified under the Second Lien
            Modification Program was, at the time of modification, second in priority relative to the first lien that was modified under the
            Programs.

In the eventthat any ofthe certifications made herein are discovered notto be true and correct, Servicer agrees to notify Fannie Mae and Freddie
Mac immediately.

            [INSERT FULL LEGAL NAME OF SERVICER]:


            [Name of Authorized Official]                          Date
            [Title of Authorized Official]




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                                   EXHIBITD

                FORM OF ASSIGNMENT AND ASSUMPTION AGREEMENT
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                                 ASSIGNMENT AND ASSUMPTION AGREEMENT

This Assignment and Assumption Agreement (the "Assignment and Assnmption Agreement") is entered into as of [INSERT
DATE] by and between [INSERT FULL LEGAL NAME OF ASSIGNOR] ("Assignor") and [INSERT FULL LEGAL NAME
OF ASSIGNEE] ("Assignee"). All terms used, but not defined, herein shall have the meanings ascribed to them in the
Underlying Agreement (defined below).

WHEREAS, Assignor and Federal National Mortgage Association, a federally chartered corporation, as financial agent ofthe
United States ("Fannie Mae"), are parties to an Amended and Restated Commitment to Purchase Financial Instrument and
Servicer Participation Agreement, a complete copy ofwhich (including all exhibits, amendments and modifications thereto) is
attached hereto and incorporated herein by this reference (the "Underlying Agreement");

WHEREAS, Assignor has agreed to assign to Assignee all ofits rights and obligations under the Underlying Agreement with
respect to the Eligible Loans that are identified on the schedule attached hereto as Schedule 1 (collectively, the "Assigned
Rights and Obligations"); and

WHEREAS, Assignee has agreed to assume the Assigned Rights and Obligations.

NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency ofwhich are hereby acknowledged, the
parties hereto agree as follows:

I. Assignment. Assignor hereby assigns to Assignee all ofAssignor's rights and obligations under the Underlying Agreement
with respect to the Assigned Rights and Obligations.

2. Assumption. Assignee hereby accepts the foregoing assignment and assumes all ofthe rights and obligations ofAssignor
under the Underlying Agreement with respect to the Assigned Rights and Obligations.

3. Effective Date. The date on which the assignment and assumption of rights and obligations under the Underlying
Agreement is effective is [INSERT EFFECTIVE DATE OF ASSIGNMENT/ASSUMPTION].

4. Successors. All future transfers and assignments ofthe Assigned Rights and Obligations transferred and assigned hereby
are subject to the transfer and assignment provisions of the Underlying Agreement. This Assignment and Assumption
Agreement shall inure to the benefit of, and be binding upon, the permitted successors and assigns of the parties hereto.

5. Counterparts. This Assignment and Assumption Agreement may be executed in counterparts, each of which shall be an
original, but all of which together constitute one and the same instrument.




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   IN WITNESS WHEREOF, Assignor and Assignee, by their duly authorized officials, hereby execute and deliver this
   Assignment and Assumption Agreement, together with Schedule I, effective as of the date set forth in Section 3 above.

ASSIGNOR: [INSERT FULL LEGAL NAME OF                               ASSIGNEE: [INSERT FULL LEGAL NAME OF
ASSIGNOR]                                                          ASSIGNEE]

By:                                                                By:
Nam'-e:-------------------                                         Nam-e-:----------------
Title:                                                   _         Title:                                       _
Date:                                                    _         Date:                                         _




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                                 SCHEDULE 1

                                     To

                   ASSIGNMENT AND ASSUMPTION AGREEMENT




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                                  EXHIBITE

                            FORM OF COVER SHEET
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      Cover Sheet for Transmission of Amended and Restated Commitment to Pnrchase Financial
              Instrnment and Servicer Participation Agreement and Related Docnments

   To: [INSERT FULL LEGAL NAME OF SERVlCER] ("Servicer"), [INSERT SERVICER CONTACT]

   From: Federal National Mortgage Association, a federally chartered corporation, as financial agent of the
   United States ("Fannie Mae")

   Copy To: The U.S. Department of the Treasury, [INSERT TREASURY CONTACT]

   Date: [INSERT DATE OF TRANSMISSION]

   Method ofTransmission: [Facsimile to [INSERT FAX NUMBER OF SERVICER]] [[Email with PDF file
   attached to [INSERT SERVICER EMAIL ADDRESS][Specif)' other method of electronic delivery]]

                                                    NOTICE

   [IF THIS TRANSMISSION OCCURS UPON EXECUTION OF COMMITMENT:]This transmission
   constitutes notice to Servicer that the Amended and Restated Commitment to Purchase Financial Instrument
   and Servicer Participation Agreement, by and between Fannie Mae and Servicer (the "Commitment") and the
   Service Schedule(s) and Financial Instrument attached thereto have been fully executed and are effective as of
   the date ofthis transmission. The date ofthis transmission shall be the "Effective Date" ofthe Commitment,
   the Service Schedule(s) and the Financial Instrument.

   [IF THIS TRANSMISSION OCCURS IN CONNECTION WITH DELIVERY OF ADDITIONAL SERVICE
   SCHEDULES:] This transmission constitutes notice to Servicer that Additional Service Schedule(s) and a
   Certification have been delivered by Servicer to Fannie Mae, pursuant to Section 4 of the Amended and
   Restated Commitment to Purchase Financial Instrument and Servicer Participation Agreement, by and
   between Fannie Mae and Servicer (the "Commitment"). The Additional Service Schedule(s) and the
   Certification attached hereto have been fully executed and are effective as of the date set forth in the
   Additional Service Schedule(s).

   Copies of the fully executed Additional Service Schedule(s) and the Certification are attached to this
   transmission for your records.




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